Case 2:04-&00090-,6\|\/| Document 2 Filed 157/04 Page 1 of 4

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In the United States District Court for the our 2 7 2004
Western Dlstrlct of Texas

Del Rio Division §§§§*§'RH%.$:TY" CPE‘§<‘§§
BY
RK
lN THE MATTER oF

DR O4~»CA-O90
NORMAN J. SILVERMAN

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Respondent Norman J. Silverman’s Motion for Continuance

Defendant Norrnan J. Silverman moves for a continuance of the show-cause
hearing scheduled for Friday, October 29, 2004, in Del Rio, Texas.

l. The Court’s order of October 12, 2004 directs Mr. Silverman, an
attorney, to appear and show cause Why a sanction of criminal contempt should not
be imposed pursuant to F. R. Cr. Proc. 42 because of Mr. Silverman’s having
willfully disregarded the Court’s order by failing to appear as counsel for
Defendant Juan Antonio Deras in DR-O4-CR-688 at the docket call scheduled for
October 12, 2004 at 9:00 a.m., or to have informed the Court of his intention not to
be present

2. Mr. Silverman’s written response to the order to show cause,
accompanied by his letter of apology to the Court and statement under penalty of
perjury, explaining the circumstances that preceded his nonappearance,
accompanies this motion.

3. Mr. Silverman is scheduled to present oral argument before the United

States Court of Appeals for the Sixth Circuit in Cincinnati, Ohio on October 29,

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0 2004 at 9;00 a.m. in No. 03-5875, United States of Amerl'ca v. Ml'n Kl` Yoon. The
Clerk’s notice, advising that “continuances of oral argument Will not be granted
except in highly extraordinary circumstances,” is attached

For the foregoing reasons, Respondent Norman J. Silverman respectfully
moves that the Court grant a continuance of the scheduled show-cause hearing A
proposed order granting the requested relief is attached.

Respectfully submitt d,

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MICHAEL`A'. MANESS

Texas Bar No. l2897000

1900 North Loop West, Suite 500
Houston, Texas 77 018-8 120
(713) 680-9922

(713) 680-0804 (FAX)

 

Attomey for Respondent
Norrnan J. Silverman

Certiflcate of Service
I certify that on October 26, 2004, l have served a copy of the foregoing
Respondent Norman J. Silverman’s Motion for Continuance upon counsel for the

Govemment, by Federal Express, at the following address:

Robert Brady

Assistant United States Attorney
lll E. Broadway, Room 300
Del Rio TX 7 8840

 

MICHAEL A. MANESS
_2_

 

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FOR THE S|XTH C|RCU|T
100 EAST F|FTH STREET, ROOIV| 532

LEONAR,D GBEEN FOTTER STEWART U.S. COURTHOUSE TELEPHONE

Cl.ERK ClNClNNAT|, OH|O 45202-3988 (513) 564-7000
www.ca6.uscourts.gov

ORAL ARGUMENT NOTICE
September 8, 2004

Norman J. Silverman

Van S. Vinoent
RE: 03-5875 USA vs. Yoon

Dear Counsel:

Your case will be heard by a panel of the Sixth Circuit on 10[29[04
in Cincinnati, Ohio. Two weeks prior to this date, you may learn the
names of the Judges sitting on the panel upon request.

On the day of argument, please report to the Clerk’s Office, Room 524
in the Potter Stewart United States Courthouse, at the corner of 5th and
Walnut Streets in Cincinnati, no later than 8:30 a.m. Court will
convene promptly at 9:00 a.m. Eastern Daylight
Saving Time. Oral argument will be limited to 15 minutes per side, unless
expanded by the Court at the hearing, or by granting a motion by counsel
prior to the hearing.

Unlike most circuits, the Sixth Circuit has continued to follow its
traditional policy of allowing oral argument in all civil and criminal cases
when requested by counsel. Oral argument may be waived by agreement of
counsel, however, with the approval of the Court. Please consider carefully
whether oral argument is needed in this ease. If a waiver is appropriate
in this case, please notify the court by means of a motion to that effect.
Due to the court being short-handed and the intention to keep the docket
as current as possible, continuances of oral argument will not be granted
except in highly extraordinary circumstances.

Your attention is called to Rule 36 of the Rules of the Sixth Circuit
Court of Appeals regarding decisions from the bench. ln appropriate cases,
decisions may be made by the panel from the bench following oral argument.

The Court asks counsel to provide the Court with information on similar
issues either pending before this Circuit or in other courts of appeals.
You must provide this information by letter (original and three
copies) which will be given to the hearing panel. ,

 

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If you have been appointed to represent your client pursuant to the
terms of the Criminal Justice Act, you should be aware that reimbursement
for travel arrangements made outside the purview of National Travel
Service will be limited to the lesser of the government rate for airfare
or actual expenses. Specific requirements for arranging CJA travel are
set forth in the separate Travel Authorization which is enclosed.

The attached acknowledgment form must be faxed to (513)564-7098 or
returned by mail to Room 532, Potter Stewart United States Courthouse,
Fifth and walnut Streets, Cincinnati, OH 45202 by 9/22/04 . If faxed,
do not also send by mail.

No documents, other than the attached acknowledgment, are to be faxed
to the court without express permission.

Very truly yours,

SI»W’»Q¢_ 031/\7£:3.€_,
Teresa Bertke
Calendar Deputy

Enclosure
ds

 

